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             FLORIDA
             AUTO POLICY




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                               FLORIDA AUTO POLICY

                               INSURING AGREEMENT

In return for your payment of the premium, we agree to insure you subject to all the
terms, conditions and limitations of this policy. We will insure you for the coverages
and the limits of liability shown on this policy’s declarations page. Your policy consists
of the policy contract, your insurance application, the declarations page, and all en-
dorsements to this policy.

                               GENERAL DEFINITIONS

The following definitions apply throughout the policy. Defined terms are printed in bold-
face type and have the same meaning whether in the singular, plural, or any other form.
1. “Additional auto” means an auto you become the actual or beneficial owner of
    during the policy period that does not permanently replace an auto shown on the
    declarations page if:
    a. you notify us within 30 days of becoming the owner of the additional auto;
          and
    b. you pay any additional premium due.
    An additional auto will have the broadest coverage we provide for any auto shown
    on the declarations page. If you ask us to insure an additional auto more than
    30 days after you become the actual or beneficial owner, any coverage we provide
    will begin at the time you request coverage.
2. “Auto” means a land motor vehicle:
    a. of the private passenger, pickup body, or cargo van type;
    b. designed for operation principally upon public roads;
    c. with at least four wheels; and
    d. with a gross vehicle weight rating of 12,000 pounds or less, according to the
          manufacturer’s specifications.
    However, “auto” does not include step-vans, parcel delivery vans, or cargo cutaway
    vans or other vans with cabs separate from the cargo area.
3. “Auto business” means the business of selling, leasing, repairing, parking, storing,
    servicing, delivering or testing vehicles.
4. “Bodily injury” means bodily harm, sickness, or disease, including death that re-
    sults from bodily harm, sickness, or disease.
5. “Covered auto” means:
    a. any auto or trailer shown on the declarations page for the coverages appli-
          cable to that auto or trailer;
    b. any additional auto;
    c. any replacement auto; or
    d. a trailer owned by you.
6. “Declarations page” means the document showing your coverages, limits of li-
    ability, covered autos, premium, and other policy-related information. The declara-
    tions page may also be referred to as the Auto Insurance Coverage Summary.
7. “Occupying” means in, on, entering or exiting.
8. “Personal vehicle sharing program” means a system or process, operated by a
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    business, organization, network, group, or individual under terms of use pursuant
    to a written agreement, that facilitates the sharing of private passenger motor ve-
    hicles for use by individuals.
9. “Property damage” means physical damage to, destruction of, or loss of use of,
    tangible property.
10. “Rated resident” means a person residing in the same household as you at the
    time of the loss who is not a relative, but only if that person is both:
    a. listed in the “Drivers and household residents” section on the declarations
         page; and
    b. not designated as either an “Excluded” or a “List Only” driver.
11. “Relative” means a person residing in the same household as you, and related to
    you by blood, marriage or adoption, and includes a ward, stepchild, or foster child.
    Your unmarried dependent children temporarily away from home will qualify as a
    relative if they intend to continue to reside in your household.
12. “Replacement auto” means an auto that permanently replaces an auto shown on
    the declarations page. However, if the auto being replaced had coverage under
    Part IV—Damage To A Vehicle, such coverage will apply to the replacement auto
    only during the first 30 days after you become the actual or beneficial owner unless
    you notify us within that 30-day period that you want us to extend coverage be-
    yond the initial 30 days. If the auto being replaced did not have coverage under Part
    IV—Damage To A Vehicle, such coverage may be added, but the replacement
    auto will have no coverage under Part IV until you notify us of the replacement
    auto and ask us to add the coverage.
13. “Ride-sharing activity” means the use of any vehicle to provide transportation of
    persons for any compensation or fee in connection with a transportation network
    company from the time a user logs on to, or signs in to, any online-enabled appli-
    cation, software, website or system until the time the user logs out of, or signs off of,
    any such online-enabled application, software, website or system, whether or not
    the user has accepted any passenger(s), including the time the user is on the way
    to pick up any passenger(s), or is transporting any passenger(s).
14. “Trailer” means a non-motorized trailer, including a farm wagon or farm implement,
    designed to be towed on public roads by an auto:
    a. while not being used for commercial purposes;
    b. while not being used as an office, store, or for display purposes; or
    c. while not being used as a passenger conveyance.
15. “Transportation network company” is an organization, sole proprietor, or any
    other entity that provides prearranged transportation services for compensation
    using an online-enabled application or platform to connect passengers with drivers
    using a personal vehicle. This definition does not include shared-expense carpool-
    ing.
16. “We,” “us” and “our” mean the underwriting company providing the insurance, as
    shown on the declarations page.
17. “You” and “your” mean:
    a. a person shown as a named insured on the declarations page; and
    b. the spouse of a named insured if residing in the same household at the time of
         the loss.


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                            PART I—LIABILITY TO OTHERS

INSURING AGREEMENT—BODILY INJURY

If you pay the premium for this coverage, we will pay damages for bodily injury for
which an insured person becomes legally responsible because of an accident.

INSURING AGREEMENT—PROPERTY DAMAGE

If you pay the premium for this coverage, we will pay damages for property damage
for which an insured person becomes legally responsible because of an accident.

Damages for bodily injury and property damage include prejudgment interest award-
ed against an insured person, where owed by law.

If you pay the premium for Bodily Injury Liability and Property Damage Liability, we will
settle or defend, at our option, any claim for bodily injury or property damage cov-
ered by this Part I. Our duty to settle or defend ends after we have paid the applicable
limit of liability for the accident that is the basis of the lawsuit. Our duty to settle or de-
fend does not include any sanctions awarded or assessed against an insured person
due to intentional misrepresentation or concealment committed by that insured person
during the course of any lawsuit, associated discovery, or other proceedings.

If you pay the premium for Property Damage Liability only, we will settle or defend, at
our option, any claim for property damage covered by this Part I. Our duty to settle
or defend ends after we have paid the applicable limit of liability for the accident that
is the basis of the lawsuit. Our duty to settle or defend does not include any sanctions
awarded or assessed against an insured person due to intentional misrepresentation
or concealment committed by that insured person during the course of any lawsuit,
associated discovery, or other proceedings.

Satisfaction by an insured person of a judgment for bodily injury or property dam-
age shall not be a condition precedent to the right or duty of us to make payment for
such bodily injury or property damage.

ADDITIONAL DEFINITION

When used in this Part I:
“Insured person” means:
a. you, a relative, or a rated resident with respect to an accident arising out of the
    ownership, maintenance or use of an auto or a trailer;
b. any person with respect to an accident arising out of that person’s use of a covered
    auto with the permission of you, a relative, or a rated resident;
c. any person or organization with respect only to vicarious liability for the acts or
    omissions of a person described in a. or b. above; and
d. any “Additional Interest” shown on the declarations page with respect only to its
    liability for the acts or omissions of a person described in a. or b. above.

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ADDITIONAL PAYMENTS

In addition to our limit of liability, we will pay for an insured person:
1. all expenses we incur in the settlement of any claim or in the defense of an insured
     person in any lawsuit. This does not include attorney fees or sanctions awarded or
     assessed against an insured person unless they were taxed against an insured
     because the Company, while providing a defense, rejected an offer of judgment at
     or below the applicable limit of liability;
2. interest accruing after entry of judgment, until we have paid, offered to pay, or de-
     posited in court, that portion of the judgment which does not exceed our limit of
     liability. This does not apply if we have not been given notice of suit or the opportu-
     nity to defend an insured person;
3. the premium on any appeal bond or attachment bond required in any lawsuit we
     defend. We have no duty to purchase a bond in an amount exceeding our limit of
     liability, and we have no duty to apply for or furnish these bonds;
4. up to $250 for a bail bond required because of an accident resulting in bodily in-
     jury or property damage covered under this Part I. We have no duty to apply for
     or furnish this bond; and
5. reasonable expenses, including loss of earnings up to $200 per day, incurred at
     our request.

EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART I.

Coverage under this Part I, including our duty to defend, will not apply to any insured
person for:
1. bodily injury or property damage arising out of the ownership, maintenance or
    use of any vehicle or trailer while being used:
    a. to carry persons or property for compensation or a fee;
    b. for retail or wholesale delivery, including, but not limited to, the pickup, transport
         or delivery of magazines, newspapers, mail or food; or
    c. for ride-sharing activity.
    This exclusion does not apply to shared-expense car pools;
2. any liability assumed under any contract or agreement by you or a relative;
3. bodily injury to an employee of that insured person arising out of or within the
    course of employment. This exclusion does not apply to domestic employees if
    benefits are neither paid nor required to be provided under workers’ compensation,
    disability benefits, or similar laws;
4. bodily injury or property damage arising out of an accident involving any vehicle
    while being maintained or used by a person while employed or engaged in any
    auto business. This exclusion does not apply to you, a relative, a rated resident,
    or an agent or employee of you, a relative, or a rated resident, when using a
    covered auto;
5. bodily injury or property damage arising out of the use of any vehicle, and result-
    ing from, or sustained during practice or preparation for:
    a. any pre-arranged or organized racing, stunting, speed or demolition contest or
         activity by an insured person; or

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    b.   any driving activity conducted on a permanent or temporary racetrack or race-
         course by an insured person;
6. bodily injury or property damage due to a nuclear reaction or radiation;
7. bodily injury or property damage for which insurance:
    a. is afforded under a nuclear energy liability insurance contract; or
    b. would be afforded under a nuclear energy liability insurance contract but for its
         termination upon exhaustion of its limit of liability;
8. any obligation for which the United States Government is liable under the Federal
    Tort Claims Act. This exclusion will apply only to the damages that are in excess of
    the minimum limits of liability coverage required by the financial responsibility law of
    the state of Florida;
9. bodily injury or property damage caused by an intentional act of any insured
    person, or at the direction of any insured person, even if the actual injury or dam-
    age is different than that which was intended or expected. With respect to persons
    sustaining bodily injury or property damage who do not also qualify as insured
    persons, this exclusion will apply only to the damages that are in excess of the
    minimum limits of liability coverage required by the financial responsibility law of the
    state of Florida;
10. property damage to any property owned by, rented to, being transported by, used
    by, or in the charge of that insured person. This exclusion does not apply to a
    rented residence or a rented garage;
11. bodily injury to you or a relative;
12. bodily injury or property damage arising out of the ownership, maintenance, or
    use of any vehicle owned by you or furnished or available for your regular use,
    other than a covered auto for which this coverage has been purchased;
13. bodily injury or property damage arising out of the ownership, maintenance or
    use of any vehicle owned by a relative or furnished or available for the regular use
    of a relative, other than a covered auto for which this coverage has been pur-
    chased. This exclusion does not apply to your maintenance or use of such vehicle;
14. bodily injury or property damage arising out of your, a relative’s, or a rated
    resident’s use of a vehicle, other than a covered auto, without the permission of
    the owner of the vehicle or the person in lawful possession of the vehicle;
15. bodily injury or property damage arising out of the use of a covered auto while
    leased or rented to others or given in exchange for any compensation, including
    while being used in connection with a personal vehicle sharing program. This
    exclusion does not apply to the operation of a covered auto by you, a relative,
    or a rated resident, and will only apply to the damages that are in excess of the
    minimum limits of liability coverage required by the financial responsibility law of the
    state of Florida;
16. punitive or exemplary damages; or
17. bodily injury or property damage caused by, or reasonably expected to result
    from, a criminal act or omission, excluding moving traffic violations, of any insured
    person. This exclusion applies regardless of whether that insured person is ac-
    tually charged with, or convicted of, a crime. With respect to persons sustaining
    bodily injury or property damage who do not also qualify as insured persons,
                                             5
    this exclusion will apply only to the damages that are in excess of the minimum
    limits of liability coverage required by the financial responsibility law of the state of
    Florida.

LIMITS OF LIABILITY

The limit of liability shown on the declarations page for liability coverage is the most we
will pay regardless of the number of:
1. claims made;
2. covered autos;
3. insured persons;
4. lawsuits brought;
5. vehicles involved in the accident; or
6. premiums paid.

If your declarations page shows a split limit:
1. the amount shown for “each person” is the most we will pay for all damages due to
     bodily injury to one person resulting from any one accident;
2. subject to the “each person” limit, the amount shown for “each accident” is the most
     we will pay for all damages due to bodily injury sustained by two or more persons
     in any one accident; and
3. the amount shown for “property damage” is the most we will pay for the total of all
     property damage resulting from any one accident.

The “each person” limit of liability applies to the total of all claims made for bodily injury
to a person and all claims of others derived from such bodily injury, including, but not
limited to, emotional injury or mental anguish resulting from the bodily injury of another
or from witnessing the bodily injury to another, loss of society, loss of companionship,
loss of services, loss of consortium, and wrongful death, if recoverable under the ap-
plicable law.

If the declarations page shows that “combined single limit” or “CSL” applies, the
amount shown is the most we will pay for the total of all damages resulting from any
one accident. However, without changing this limit of liability, we will comply with any law
that requires us to provide any separate limits.

No one is entitled to duplicate payments for the same elements of damages.

Any payment to a person under this Part I for bodily injury will be reduced by:
1. any payment made to that person for bodily injury under Part III—Uninsured Mo-
    torist Coverage; and
2. any amounts that are paid or payable to that person as personal injury protection
    benefits.


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If multiple auto policies issued by us are in effect for you, we will pay no more than the
highest limit of liability for this coverage available under any one policy.

An auto and attached trailer are considered one auto. Therefore, the limits of liability
will not be increased for an accident involving an auto that has an attached trailer.

FINANCIAL RESPONSIBILITY LAWS

When we certify this policy as proof of financial responsibility, this policy will comply with
the law to the extent required. The insured person must reimburse us if we make a
payment that we would not have made if this policy was not certified as proof of financial
responsibility.

OTHER INSURANCE

If there is any other applicable liability insurance or bond, we will pay only our share of
the damages. Our share is the proportion that our limit of liability bears to the total of all
applicable limits. Any insurance we provide for a vehicle or trailer, other than a covered
auto, will be excess over any other collectible insurance, self-insurance, or bond.

However, when you, a relative, or a rated resident rent or lease an auto, the liability
coverage provided by the lessor’s policy shall be primary unless the rental or lease
agreement includes a provision in the form specified in Florida Statute §627.7263, as
amended, stating that the lessee or rentee’s liability insurance and personal injury pro-
tection insurance shall be primary. If the rental or lease agreement includes such a
provision, our duty to pay damages under this Part I, and our duty to defend you, a
relative, or a rated resident under this Part I, shall be primary to any liability coverage
provided by the lessor or owner for operation of that auto by you, a relative, or a rated
resident. We have no duty to defend the lessor or owner of that auto under this Part I.

OUT-OF-STATE COVERAGE

If an accident to which this Part I applies occurs in any state, territory or possession of
the United States of America or any province or territory of Canada, other than the one
in which a covered auto is principally garaged, and the state, province, territory or pos-
session has:
1. a financial responsibility or similar law requiring limits of liability for bodily injury
     or property damage higher than the limits shown on the declarations page, this
     policy will provide the higher limits; or
2. a compulsory insurance or similar law requiring a non-resident to maintain insur-
     ance whenever the non-resident uses an auto in that state, province, territory or
     possession, this policy will provide the greater of:
     a. the required minimum amounts and types of coverage; or
     b. the limits of liability under this policy.


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          PART II(A)—PERSONAL INJURY PROTECTION COVERAGE

INSURING AGREEMENT

If you pay the premium for this coverage, we will pay benefits that an insured person
is entitled to receive pursuant to the Florida Motor Vehicle No-Fault Law, as amended,
because of bodily injury:
1. caused by an accident;
2. sustained by an insured person; and
3. arising out of the ownership, maintenance or use of a motor vehicle.

Personal Injury Protection Coverage benefits consist of:
1. medical benefits;
2. disability benefits; and
3. death benefits.

ADDITIONAL DEFINITIONS

When used in this Part II(A):
1. “Death benefits” means benefits of $5,000 payable per individual if an insured
   person dies because of injury covered under this Part II(A).
2. “Disability benefits” means 60 percent of any work loss per insured person
   from inability to work proximately caused by the injury sustained by the insured
   person. Disability benefits also include all expenses reasonably incurred in ob-
   taining from others ordinary and necessary services in lieu of those services that,
   but for the bodily injury, the insured person would have performed without in-
   come for the benefit of his or her household.
3. “Emergency medical condition” means a medical condition manifesting itself by
   acute symptoms of sufficient severity, which may include severe pain, such that the
   absence of immediate medical attention could reasonably be expected to result in
   any of the following:
   a. serious jeopardy to patient health;
   b. serious impairment to bodily functions; or
   c. serious dysfunction of any bodily organ or part.
4. “Insured person” means:
   a. you or any resident relative sustaining bodily injury while occupying a mo-
         tor vehicle, or when struck by a motor vehicle while not occupying a self-
         propelled vehicle;
   b. any person sustaining bodily injury while occupying a covered auto; or
   c. any person, if a resident of Florida, sustaining bodily injury when struck by a
         covered auto while not occupying a self-propelled vehicle.
   For purposes of this definition, “covered auto” includes an attached trailer or semi-
   trailer designed for use with such vehicle.
5. “Medical benefits” means 80 percent of all reasonable expenses incurred for
   medically necessary medical, surgical, x-ray, dental and rehabilitative services,
   including prosthetic devices and medically necessary ambulance, hospital and

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     nursing services. All of the following statutory references are to Florida law. Medi-
     cal benefits are limited to: 1) services and care received within the initial 14 days
     after the motor vehicle accident, or 2) follow-up services and care received beyond
     the initial 14 days after the motor vehicle accident if services and care have been
     previously received within the initial 14 days after the motor vehicle accident, and
     a referral for more services and care has been provided by a statutorily authorized
     provider, and the follow-up services and care are consistent with the underlying
     medical diagnosis. Medical benefits provide reimbursement for: 1) initial services
     and care that are lawfully provided, supervised, ordered, or prescribed by a physi-
     cian licensed under chapter 458 or chapter 459, a dentist licensed under chapter
     466, or a chiropractic physician licensed under chapter 460 or that are provided in
     a hospital or in a facility that owns, or is wholly owned by, a hospital. Initial services
     and care may also be provided by a person or entity licensed under part III of chap-
     ter 401 which provides emergency transportation and treatment, or 2) upon referral
     by a provider described in subparagraph 1), follow-up services and care consistent
     with the underlying medical diagnosis rendered pursuant to subparagraph 1) which
     may be provided, supervised, ordered, or prescribed only by a physician licensed
     under chapter 458 or chapter 459, a chiropractic physician licensed under chapter
     460, a dentist licensed under chapter 466, or, to the extent permitted by applicable
     law and under the supervision of such physician, osteopathic physician, chiroprac-
     tic physician, or dentist, by a physician assistant licensed under chapter 458 or
     chapter 459 or an advanced registered nurse practitioner licensed under chapter
     464. Follow-up services and care may also be provided by the following persons
     or entities: a) hospital or ambulatory surgical center licensed under chapter 395,
     b) an entity wholly owned by one or more physicians licensed under chapter 458
     or chapter 459, chiropractic physicians licensed under chapter 460, or dentists li-
     censed under chapter 466 or by such practitioners and the spouse, parent, child,
     or sibling of such practitioners, c) an entity that owns or is wholly owned, directly or
     indirectly, by a hospital or hospitals, d) a physical therapist licensed under chapter
     486, based upon a referral by a provider described in this subparagraph, e) a health
     care clinic licensed under part X of chapter 400 which is accredited by an accredit-
     ing organization whose standards incorporate comparable regulations required by
     this state, or (i) has a medical director licensed under chapter 458, chapter 459,
     or chapter 460; (ii) has been continuously licensed for more than 3 years or is a
     publicly traded corporation that issues securities traded on an exchange registered
     with the United States Securities and Exchange Commission as a national securi-
     ties exchange; and (iii) provides at least four of the following medical specialties: (A)
     General medicine, (B) Radiography, (C) Orthopedic medicine, (D) Physical medi-
     cine, (E) Physical therapy, (F) Physical rehabilitation, (G) Prescribing or dispensing
     outpatient prescription medication, (H) Laboratory services. Medical benefits do
     not include massage, as defined in FL. St. 480.033, or acupuncture, as defined in
     FL. St. 457.102, regardless of the person, entity or licensee providing the massage
     or acupuncture, and a licensed massage therapist or licensed acupuncturist will
     not be reimbursed for medical benefits.
6.   “Medically necessary” refers to a medical service or supply that a prudent physi-
     cian would provide for the purpose of preventing, diagnosing, or treating an illness,
                                              9
    injury, disease, or symptom in a manner that is:
    a. in accordance with generally accepted standards of medical practice;
    b. clinically appropriate in terms of type, frequency, extent, site, and duration; and
    c. not primarily for the convenience of the patient, physician, or other health care
         provider.
7. “Motor vehicle” means any self-propelled vehicle with four or more wheels which
    is of a type both designed and required to be licensed for use on the highways of
    the State of Florida and any trailer or semi-trailer designed for use with such vehi-
    cle. A motor vehicle does not include a mobile home or any motor vehicle which
    is used in mass transit, other than public school transportation, and designed to
    transport more than five passengers exclusive of the operator of the motor vehicle
    and which is owned by a municipality, a transit authority, or a political subdivision of
    the state.
8. “Owner” means a person who holds the legal title to a motor vehicle, or, in the
    event a motor vehicle is the subject of a security agreement or lease with an op-
    tion to purchase with the debtor or lessee having the right to possession, then the
    debtor or lessee shall be deemed the owner.
9. “Resident relative” means a relative of any degree by blood or by marriage, or who
    is adopted, a foster child, or a ward of the state, and who usually makes his or her
    home in the same family unit, whether or not temporarily living elsewhere.
10. “Work loss” means loss of gross income and loss of earning capacity.

EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART
II(A).

Coverage under this Part II(A) does not apply to bodily injury:
1. sustained by you or a resident relative while occupying another motor vehicle
   owned by you and not insured under this policy;
2. sustained by any person operating a covered auto without your express or im-
   plied consent;
3. to any injured person, if such person’s conduct contributed to his or her bodily
   injury under any of the following circumstances:
   a. causing bodily injury to himself or herself intentionally; or
   b. sustaining bodily injury while committing a felony. However, whenever an in-
        sured is charged with such conduct, the required 30-day payment provision
        shall be held in abeyance, and the insurer shall withhold payment of any per-
        sonal injury protection benefits pending the outcome of the case at the trial
        level. If the charge is nolle prossed or dismissed or the insured is acquitted, the
        30-day payment provision shall run from the date the insurer is notified of such
        action;
4. sustained by any person, other than you, if such person is the owner of a motor
   vehicle with respect to which security is required under the Florida Motor Vehicle
   No-Fault Law, as amended;
5. sustained by any person, other than you or a resident relative, who is entitled to
   personal injury protection benefits from the insurer or owner of a motor vehicle
   that is not a covered auto under this policy;
                                            10
6.   sustained by any person while occupying a motor vehicle while located for use
     as a residence or premises;
7.   with respect to work loss, if such bodily injury is sustained by you, and if a named
     insured has elected to exclude work loss for either you, or your dependent resi-
     dent relatives, as indicated on the declarations page;
8.   with respect to work loss, if such bodily injury is sustained by a dependent resi-
     dent relative, and if a named insured has elected to exclude work loss for you and
     dependent resident relatives, as indicated on the declarations page; or
9.   sustained by any person while occupying a covered auto while it is being used
     for ride-sharing activity.

LIMIT OF LIABILITY

The limit of liability shown on the declarations page for Personal Injury Protection is
the most we will pay for each insured person injured in any one accident, regardless
of the number of:
1. claims made;
2. covered autos;
3. insured persons;
4. lawsuits brought;
5. vehicles involved in the accident; or
6. premiums paid.

If no emergency medical condition exists or no determination has been made, the
maximum reimbursement for medical benefits and disability benefits is limited to
$2,500. If an emergency medical condition exists, the insured is eligible to receive
up to $10,000 in medical benefits and disability benefits. That determination can
affirmatively be made only by a physician or physician assistant licensed under chapter
458 or 459, a dentist licensed under chapter 466, or an advanced registered nurse
practitioner licensed under chapter 464, and further can be made only if no physician
or physician assistant licensed under chapter 458 or 459, no chiropractic physician li-
censed under chapter 460, no dentist licensed under chapter 466, no advanced reg-
istered nurse practitioner licensed under chapter 464, no physical therapist licensed
under chapter 486, and no person or entity licensed under part III of chapter 401 who
provides emergency transportation and treatment has determined that the injured per-
son did not have an emergency medical condition. This provision is applicable to
all claims without regard to the identity, or status, of the entity seeking reimbursement,
including those claims submitted by government entities possessing a statutory right to
present claims under this Part II(A).

Benefits received under any workers’ compensation law shall be credited against the
benefits provided under this Part II(A). Any deductible elected by a named insured un-
der Personal Injury Protection Coverage applies to those persons indicated as subject
to a deductible on the declarations page. Any deductible that applies to the named
insured shall apply to all persons listed as a named insured on the declarations page
and any spouse of a named insured. When a deductible applies, the deductible will
be applied to 100 percent of the expenses and losses covered under Personal Injury
Protection Coverage. A separate $5,000 benefit limit is reserved exclusively for death
benefits. However, the deductible shall not be applied to reduce death benefits.
                                           11
Personal Injury Protection Coverage is primary to the Medical Payments Coverage un-
der Part II(B).

OTHER INSURANCE

If there is other applicable personal injury protection coverage for the same injury to
any one insured person, the most the insured person may recover is the maximum
amount payable for personal injury protection benefits under the Florida Motor Vehicle
No-Fault Law, as amended. If there is other applicable personal injury protection cov-
erage, and we make a payment under this Part II(A), we are entitled to recover from
each of the other insurers an equitable pro rata share of the benefits paid and expenses
incurred in processing the claim.

If an insured person sustains bodily injury while occupying, or through being struck
by, a motor vehicle which is rented or leased, the liability coverage and the personal
injury protection coverage provided by the lessor’s policy shall be primary unless the
rental or lease agreement includes a provision which specifies that the valid and collect-
ible liability insurance and personal injury protection insurance of any authorized rental
or leasing driver is primary for the limits of liability and personal injury protection cover-
age required by §§ 324.021(7) and 627.736, Florida Statutes.

CONDITIONS

In addition to the duties set forth in Part VI of this policy and the provisions set forth in
Part VII of this policy, the following conditions apply to coverage afforded under this Part
II(A).

Policy Period and Territory. The coverage under this Part II(A) applies only to acci-
dents which occur during the policy period:
1. in the State of Florida; and
2. with respect to you or a resident relative, while occupying a covered auto out-
    side the State of Florida but within the United States of America, its territories or
    possessions, or Canada; and
3. with respect to you, while occupying a motor vehicle owned by a resident rela-
    tive, and for which security is maintained under the Florida Motor Vehicle No-Fault
    Law, as amended, outside the State of Florida but within the United States of Amer-
    ica, its territories or possessions, or Canada.

Duties in Case of an Accident or Loss. As a condition precedent to obtaining Per-
sonal Injury Protection Coverage, a person must:
1. cooperate with us in any matter concerning a claim or lawsuit;
2. provide any written proof of loss we may reasonably require;
3. allow us to take signed and recorded statements, including sworn statements and
    examinations under oath, which we may conduct outside the presence of you or
    any other person claiming coverage, and answer all reasonable questions we may
    ask and provide any documents, records, or other tangible items that we request,
    when, where, and as often as we may reasonably require; and
4. authorize us to obtain medical and other records.
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Examination under Oath. An insured seeking benefits must comply with the terms of
the policy, which include, but are not limited to, submitting to an examination under oath.
The scope of questioning during the examination under oath is limited to relevant infor-
mation or information that could reasonably be expected to lead to relevant information.
Compliance with this paragraph is a condition precedent to receiving benefits.

Refusal to Submit to Medical Examination. If a person making a claim under this
Part II(A) unreasonably refuses to submit to or fails to appear at a medical examination
required by us, we shall not be liable for further payments under this Part II(A). A refusal
to submit to or failure to appear at two examinations raises a rebuttable presumption
that the refusal or failure was unreasonable.

Right of Reimbursement from Owner or Insurer of Commercial Motor Vehicle. If
we make a payment under this Part II(A) to any person sustaining bodily injury while
occupying a commercial motor vehicle, as defined under the Florida Motor Vehicle
No-Fault Law, as amended, or when struck by a commercial motor vehicle while not
occupying a self-propelled vehicle, we shall have a right of reimbursement, to the ex-
tent of our payment, against the owner of the commercial motor vehicle or the owner’s
insurer. This right of reimbursement shall not apply from the owners or registrants of
motor vehicles being used as taxicabs.

Unreasonable or Unnecessary Medical Benefits. If an insured person incurs med-
ical benefits that we deem to be unreasonable or unnecessary, we may refuse to pay
for those medical benefits and contest them.

We will determine to be unreasonable any charges incurred that exceed the maximum
charges set forth in Section 627.736 (5)(a)(1) (a through f) of the Florida Motor Vehicle
No-Fault Law, as amended. Pursuant to Florida law, we will limit reimbursement to a
maximum of, and pay an amount not to exceed 80 percent of the following schedule of
maximum charges:
a. for emergency transport and treatment by providers licensed under Chapter 401 of
    the Florida Statutes, 200 percent of Medicare;
b. for emergency services and care provided by a hospital licensed under Chapter
    395 of the Florida Statutes, 75 percent of the hospital’s usual and customary charg-
    es;
c. for emergency services and care as defined by Section 395.002 of the Florida
    Statutes, provided in a facility licensed under Chapter 395 rendered by a physician
    or dentist, and related hospital inpatient services rendered by a physician or dentist,
    the usual and customary charges in the community;
d. for hospital inpatient services, other than emergency services and care, 200 per-
    cent of the Medicare Part A prospective payment applicable to the specific hospital
    providing the inpatient services;
e. for hospital outpatient services, other than emergency services and care, 200 per-
    cent of the Medicare Part A Ambulatory Payment Classification for the specific hos-
    pital providing the outpatient services; and
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f.   for all other medical services, supplies and care, 200 percent of the allowable
     amount under the participating physicians fee schedule of Medicare Part B, except
     as follows:
     (1) for services, supplies and care provided by ambulatory surgical centers and
          clinical laboratories, 200 percent of the allowable amount under Medicare Part
          B; and
     (2) for durable medical equipment, 200 percent of the allowable amount under
          “The Durable Medical Equipment Prosthetics/Orthotics and Supplies” fee
          schedule of Medicare Part B.
     However, if such services, supplies or care is not reimbursable under Medicare
     Part B, as provided in this subsection f., we will limit reimbursement to a maximum
     of, and pay an amount not to exceed 80 percent of the maximum reimbursable
     allowance under workers’ compensation, as determined under Section 440.13 of
     the Florida Statutes, and rules adopted thereunder which are in effect at the time
     such services, supplies or care is provided. Services, supplies or care that is not
     reimbursable under Medicare or workers’ compensation will not be reimbursed by
     us.

The applicable fee schedule or payment limitation under Medicare is the fee schedule
or payment limitation in effect on March 1 of the service year in which the services, sup-
plies or care is rendered and for the area in which such services, supplies or care is ren-
dered. This applicable fee schedule or payment limitation applies to service, supplies, or
care rendered during that service year, notwithstanding any subsequent change made
to the fee schedule or payment limitation, except that it may not be less than the allow-
able amount under the applicable schedules of Medicare Part B for 2007 for medical
services, supplies, and care subject to Medicare Part B. For purposes of this paragraph,
“service year” means the period from March 1 through the end of February of the fol-
lowing year.

In determining the appropriate reimbursement under the applicable Medicare fee
schedule, all reasonable, medically necessary, and covered charges for services,
supplies and care submitted by physicians, non-physician practitioners, or any other
provider will be subject to the Center for Medicare Services (CMS) coding policies and
payment methodologies, including applicable modifiers. The CMS policies include, but
are not limited to: coding edits, both mutually exclusive and inclusive, payment limita-
tions, and coding guidelines subject to the National Correct Coding Initiative (NCCI),
Hospital Outpatient Prospective Payment System (OPPS), Multiple Procedure Payment
Reduction (MPPR), and Multiple Surgery Reduction Rules (MSRR).

We will reduce any payment to a medical provider under this Part II(A) by any amounts
we deem to be unreasonable medical benefits. However, the medical benefits shall
provide reimbursement only for such services, supplies and care that are lawfully ren-
dered, supervised, ordered or prescribed. Any reductions taken will not affect the rights
of an insured person for coverage under this Part II(A). Whenever a medical provider
agrees to a reduction of medical benefits charged, any co-payment owed by an in-
sured person will also be reduced.


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We have the right under this Part II(A) to limit reimbursement in accordance with any
negotiated medical provider agreement to which we have access. However, if an in-
sured person chooses not to use such a provider with whom we have a negotiated
agreement, we will not use that negotiated rate to establish what is considered reason-
able for that area.

The insured person shall not be responsible for payment of any reductions applied
by us. If a medical provider disputes an amount paid by us, we will be responsible for
resolving such dispute. If a lawsuit is initiated against an insured person as a result
of the reduction of a medical bill by us, other than reductions taken pursuant to FL St.
627.736 (5)(a)(1) (a through f), we will provide the insured person with a legal defense
by counsel of our choice, and pay any resulting judgment. The insured person must
cooperate with us in the defense of any claim or lawsuit. If we ask an insured person
to attend hearings or trials, we will pay up to $200 per day for loss of wages or salary.
We will also pay other reasonable expenses incurred at our request. Said payments
will not operate to reduce the policy limits of liability.

Notice That Policy Limits Have Been Reached. Where a dispute exists between the
insured person and us, or between a person or entity holding a valid assignment and
us, upon request, we will notify the insured person or the assignee that the policy
limits have been reached within 15 days after the limits have been reached.

Rejection or Partial Payment due to Error in Claim. Pursuant to FL St. 627.736(4)
(b)(3), if we pay only a portion of a claim or reject a claim due to an alleged error in the
claim, we will, at the time of the partial payment or rejection, provide an itemized speci-
fication or explanation of benefits due to the specified error. Upon receiving the specifi-
cation or explanation, the person making the claim, at the person’s option and without
waiving any other legal remedy for payment, will have 15 days to submit a revised claim,
which shall be considered a timely submission of written notice of a claim.

Reasonable Belief of Fraud. Pursuant to FL St. 627.736(4)(h), benefits are not due
or payable to or on the behalf of an insured person if that person has committed, by
a material act or omission, insurance fraud relating to coverage under this Part II(A), if
the fraud is admitted to in a sworn statement by the insured person or established in
a court of competent jurisdiction. Any insurance fraud voids all coverage arising from
the claim related to such fraud under this Part II(A) of the insured person who com-
mitted the fraud, irrespective of whether a portion of the insured person’s claim may
be legitimate, and any benefits paid before the discovery of the fraud is recoverable by
us in its entirety from the person who committed insurance fraud. The prevailing party
is entitled to its costs and attorney fees in any action we may bring to enforce our right
of recovery under this paragraph.

Pursuant to FL St. 627.736(4)(i), if we have a reasonable belief that a fraudulent
insurance act, for the purposes of FL St. 626.989 or FL St. 817.234, has been com-
mitted, we will notify the insured person, in writing, within 30 days after submission
of the claim that the claim is being investigated for suspected fraud. Beginning at the
end of the initial 30-day period, we will have an additional 60 days to conduct a fraud
                                            15
investigation. Notwithstanding the demand letter requirements of FL St. 627.736(10),
no later than 90 days after the submission of the claim, we will deny the claim or pay
the claim with simple interest as provided by law. Interest shall be assessed from
the day the claim was submitted until the day the claim is paid. All claims denied for
suspected fraudulent insurance acts shall be reported to the Division of Investigative
and Forensic Services.

Log of Benefits Paid. We will create and maintain for each insured person a log of
personal injury protection benefits paid. If litigation is commenced, then we will provide
to the insured person a copy of the log within 30 days after receiving a request for
same.

EXTENDED PERSONAL INJURY PROTECTION COVERAGE

If you have purchased Extended Personal Injury Protection Coverage, all other provi-
sions of the policy apply with the exception that, as applied to bodily injury sustained
by you or a resident relative, the definitions of “disability benefits” and “medical
benefits” under this Part II(A) are deleted and replaced by the following:

    “Disability benefits” means 80 percent of any work loss per insured person
    from inability to work proximately caused by the injury sustained by the insured
    person. Disability benefits also include all expenses reasonably incurred in ob-
    taining from others ordinary and necessary services in lieu of those services that,
    but for the bodily injury, the insured person would have performed without in-
    come for the benefit of his or her household.

    “Medical benefits” means all reasonable expenses incurred for medically neces-
    sary medical, surgical, x-ray, dental and rehabilitative services, including prosthetic
    devices and medically necessary ambulance, hospital and nursing services. All
    of the following statutory references are to Florida law. Medical benefits are limited
    to: 1) services and care received within the initial 14 days after the motor vehicle
    accident, or 2) follow-up services and care received beyond the initial 14 days af-
    ter the motor vehicle accident if services and care have been previously received
    within the initial 14 days after the motor vehicle accident, and a referral for more
    services and care has been provided by a statutorily authorized provider, and the
    follow-up services and care are consistent with the underlying medical diagnosis.
    Medical benefits provide reimbursement for: 1) initial services and care that are
    lawfully provided, supervised, ordered, or prescribed by a physician licensed under
    chapter 458 or chapter 459, a dentist licensed under chapter 466, or a chiroprac-
    tic physician licensed under chapter 460 or that are provided in a hospital or in a
    facility that owns, or is wholly owned by, a hospital. Initial services and care may
    also be provided by a person or entity licensed under part III of chapter 401 which
    provides emergency transportation and treatment, or 2) upon referral by a provider
    described in subparagraph 1), follow-up services and care consistent with the un-
    derlying medical diagnosis rendered pursuant to subparagraph 1) which may be
    provided, supervised, ordered, or prescribed only by a physician licensed under
    chapter 458 or chapter 459, a chiropractic physician licensed under chapter 460, a
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    dentist licensed under chapter 466, or, to the extent permitted by applicable law and
    under the supervision of such physician, osteopathic physician, chiropractic physi-
    cian, or dentist, by a physician assistant licensed under chapter 458 or chapter 459
    or an advanced registered nurse practitioner licensed under chapter 464. Follow-
    up services and care may also be provided by the following persons or entities:
    a) hospital or ambulatory surgical center licensed under chapter 395, b) an entity
    wholly owned by one or more physicians licensed under chapter 458 or chapter
    459, chiropractic physicians licensed under chapter 460, or dentists licensed under
    chapter 466 or by such practitioners and the spouse, parent, child, or sibling of
    such practitioners, c) an entity that owns or is wholly owned, directly or indirectly, by
    a hospital or hospitals, d) a physical therapist licensed under chapter 486, based
    upon a referral by a provider described in this subparagraph, e) a health care clinic
    licensed under part X of chapter 400 which is accredited by an accrediting organi-
    zation whose standards incorporate comparable regulations required by this state,
    or (i) has a medical director licensed under chapter 458, chapter 459, or chap-
    ter 460; (ii) has been continuously licensed for more than 3 years or is a publicly
    traded corporation that issues securities traded on an exchange registered with
    the United States Securities and Exchange Commission as a national securities
    exchange; and (iii) provides at least four of the following medical specialties: (A)
    General medicine, (B) Radiography, (C) Orthopedic medicine, (D) Physical medi-
    cine, (E) Physical therapy, (F) Physical rehabilitation, (G) Prescribing or dispensing
    outpatient prescription medication, (H) Laboratory services. Medical benefits do
    not include massage, as defined in FL. St. 480.033, or acupuncture, as defined in
    FL. St. 457.102, regardless of the person, entity or licensee providing the massage
    or acupuncture, and a licensed massage therapist or licensed acupuncturist will
    not be reimbursed for medical benefits.

                  PART II(B)—MEDICAL PAYMENTS COVERAGE

INSURING AGREEMENT

If you pay the premium for this coverage, we will pay the reasonable expenses incurred
for necessary medical services received within three years from the date of a motor
vehicle accident because of bodily injury:
1. sustained by an insured person; and
2. caused by that motor vehicle accident.

We, or someone on our behalf, will determine:
1. whether the expenses for medical services are reasonable; and
2. whether the medical services are necessary.

There is no coverage under this Part II(B) for:
1. mileage costs for use of a personal vehicle;
2. any interest charges;
3. any medical services if the insured person does not receive initial medical ser-
    vices and care from an initial services provider within 14 calendar days after the
    motor vehicle accident;
                                            17
4.   massage of any body part either through one-on-one contact, or the use of any de-
     vices, or equipment that provide mechanical or electrical massage with or without
     heat;
5.   acupuncture services, including all adjunctive therapies and diagnostic techniques,
     including herbs, rubs and oils, aromatherapy, cupping, dieting, and other oriental
     exercises and stretching techniques; or
6.   any medical services, supplies, or care provided by a massage therapist or an
     acupuncturist.

ADDITIONAL DEFINITIONS

When used in this Part II(B):
1. “Insured person” means you, a relative, or a rated resident:
   a. while occupying an auto; or
   b. when struck by a motor vehicle or a trailer while not occupying a self-pro-
         pelled motorized vehicle.
2. “Medical services” means all reasonable expenses incurred for medically neces-
   sary medical, surgical, x-ray, dental and rehabilitative services, including prosthetic
   devices and medically necessary ambulance, hospital and nursing services. All of
   the following statutory references are to Florida law. Medical services are limited
   to: 1) services and care received within the initial 14 days after the motor vehicle ac-
   cident, or 2) follow-up services and care received beyond the initial 14 days after the
   motor vehicle accident if services and care has been previously received within the
   initial 14 days after the motor vehicle accident, and a referral for more services and
   care has been provided by an authorized provider as defined under the Florida No
   Fault law, as amended, and the follow-up services and care are consistent with the
   underlying medical diagnosis. Medical services provide reimbursement for: 1) ini-
   tial services and care that are lawfully provided, supervised, ordered, or prescribed
   by a physician licensed under chapter 458 or chapter 459, a dentist licensed under
   chapter 466, or a chiropractic physician licensed under chapter 460 or that are
   provided in a hospital or in a facility that owns, or is wholly owned by, a hospital.
   Initial services and care may also be provided by a person or entity licensed under
   part III of chapter 401 which provides emergency transportation and treatment,
   or 2) upon referral by a provider described in subparagraph 1), follow-up services
   and care consistent with the underlying medical diagnosis rendered pursuant to
   subparagraph 1) which may be provided, supervised, ordered, or prescribed only
   by a physician licensed under chapter 458 or chapter 459, a chiropractic physician
   licensed under chapter 460, a dentist licensed under chapter 466, or, to the extent
   permitted by applicable law and under the supervision of such physician, osteo-
   pathic physician, chiropractic physician, or dentist, by a physician assistant licensed
   under chapter 458 or chapter 459 or an advanced registered nurse practitioner
   licensed under chapter 464. Follow-up services and care may also be provided by
   the following persons or entities: a) hospital or ambulatory surgical center licensed
   under chapter 395, b) an entity wholly owned by one or more physicians licensed
   under chapter 458 or chapter 459, chiropractic physicians licensed under chap-
   ter 460, or dentists licensed under chapter 466 or by such practitioners and the
   spouse, parent, child, or sibling of such practitioners, c) an entity that owns or is
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     wholly owned, directly or indirectly, by a hospital or hospitals, d) a physical therapist
     licensed under chapter 486, based upon a referral by a provider described in this
     subparagraph, e) a health care clinic licensed under part X of chapter 400 which
     is accredited by an accrediting organization whose standards incorporate compa-
     rable regulations required by this state, or (i) has a medical director licensed under
     chapter 458, chapter 459, or chapter 460; (ii) has been continuously licensed for
     more than 3 years or is a publicly traded corporation that issues securities traded
     on an exchange registered with the United States Securities and Exchange Com-
     mission as a national securities exchange; and (iii) provides at least four of the fol-
     lowing medical specialties: (A) General medicine, (B) Radiography, (C) Orthopedic
     medicine, (D) Physical medicine, (E) Physical therapy, (F) Physical rehabilitation,
     (G) Prescribing or dispensing outpatient prescription medication, (H) Laboratory
     services. Medical services do not include massage, as defined in FL. St. 480.033,
     or acupuncture, as defined in FL. St. 457.102, regardless of the person, entity or
     licensee providing the massage or acupuncture, and a licensed massage therapist
     or licensed acupuncturist will not be reimbursed for medical services.
3.   “Motor vehicle” means a land motor vehicle designed for use principally on public
     roads.

EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EXCLU-
SION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART II(B).

Coverage under this Part II(B) will not apply to bodily injury:
1. sustained by any person while occupying a covered auto while it is being used:
   a. to carry persons or property for compensation or a fee;
   b. for retail or wholesale delivery, including, but not limited to, the pickup, transport
        or delivery of magazines, newspapers, mail or food; or
   c. for ride-sharing activity.
   This exclusion does not apply to shared-expense car pools;
2. arising out of an accident involving a vehicle while being maintained or used by a
   person while employed or engaged in any auto business. This exclusion does not
   apply to you, a relative, a rated resident, or an agent or employee of you, a rela-
   tive, or a rated resident, when using a covered auto;
3. to any person resulting from, or sustained during practice or preparation for:
   a. any pre-arranged or organized racing, stunting, speed or demolition contest or
        activity; or
   b. any driving activity conducted on a permanent or temporary racetrack or race-
        course;
4. due to a nuclear reaction or radiation;
5. for which insurance:
   a. is afforded under a nuclear energy liability insurance contract; or
   b. would be afforded under a nuclear energy liability insurance contract but for its
        termination upon exhaustion of its limit of liability;
6. for which the United States Government is liable under the Federal Tort Claims Act;
7. sustained by any person while occupying any vehicle or trailer while located for
   use as a residence or premises;
8. if workers’ compensation benefits are available for the bodily injury;
                                             19
9.  sustained by any person while occupying or when struck by any vehicle owned by
    you or furnished or available for your regular use, other than a covered auto for
    which this coverage has been purchased;
10. sustained by any person while occupying or when struck by any vehicle owned
    by a relative or furnished or available for the regular use of a relative, other than
    a covered auto for which this coverage has been purchased. This exclusion does
    not apply to you;
11. to you, a relative, or a rated resident, while occupying any vehicle, other than a
    covered auto, without the permission of the owner of the vehicle or the person in
    lawful possession of the vehicle;
12. to any person while occupying a covered auto while leased or rented to others or
    given in exchange for any compensation, including while being used in connection
    with a personal vehicle sharing program. This exclusion does not apply to the
    operation of a covered auto by you, a relative, or a rated resident;
13. caused directly or indirectly by:
    a. war (declared or undeclared) or civil war;
    b. warlike action by any military force of any government, sovereign or other au-
         thority using military personnel or agents. This includes any action taken to
         hinder or defend against an actual or expected attack; or
    c. insurrection, rebellion, revolution, usurped power, or any action taken by a gov-
         ernmental authority to hinder or defend against any of these acts;
14. caused directly or indirectly by any accidental or intentional discharge, dispersal, or
    release of radioactive or nuclear material;
15. caused by, or reasonably expected to result from, a criminal act or omission of an
    insured person. This exclusion applies regardless of whether the insured person
    is actually charged with, or convicted of, a crime. This exclusion does not apply to
    moving traffic violations; or
16. for which coverage is not afforded under Part II(A)—Personal Injury Protection for
    any reason. This exclusion does not apply to medical services covered under Part
    II(A) but not paid solely due to:
    a. the application of the statutory 80 percent reimbursement limitation;
    b. the exhaustion of all applicable personal injury protection coverage; or
    c. the $2,500 limit of liability under Part II(A) for non-emergency medical condi-
         tions.

LIMITS OF LIABILITY

The limit of liability shown on the declarations page for Medical Payments Coverage is
the most we will pay for each insured person injured in any one accident, regardless
of the number of:
1. claims made;
2. covered autos;
3. insured persons;
4. lawsuits brought;
5. vehicles involved in the accident; or
6. premiums paid.
                                            20
No one will be entitled to duplicate payments under this policy for the same elements
of damages.

Any amount payable to an insured person under this Part II(B) will be reduced by any
amount paid or payable for the same expense under Part I—Liability To Others or Part
III—Uninsured Motorist Coverage.

If multiple auto policies issued by us are in effect for you, we will pay no more than the
highest limit of liability for this coverage available under any one policy.

Any amounts payable for medical services to an insured person under this Part II(B)
shall be excess over any personal injury protection coverage paid or payable under Part
II(A)—Personal Injury Protection or which would be available but for the application of
a deductible. This means that subject to the limit of liability shown on the declarations
page, we will pay under this Part II(B) only for expenses that:

1.   are the portion of any claim for medical benefits otherwise covered but not pay-
     able under Part II(A)—Personal Injury Protection due to coinsurance under that
     part. This is the 20 percent of reasonable expenses left over after application of the
     80 percent limitation in the Part II(A) definition of medical benefits; or
2.   exceed the medical benefits paid under Part II(A).

We will not provide reimbursement for any medical services, care, or supplies that are
not required to be reimbursed under the Florida Motor Vehicle No-Fault Law. However,
we will not deny reimbursement under this Part II(B) solely because charges for a non-
emergency medical condition exceed the $2,500 limit of liability for such conditions
under Part II(A).

Coverage under this Part II(B) shall not be available to pay any deductible for personal
injury protection coverage.

UNREASONABLE OR UNNECESSARY MEDICAL EXPENSES

If an insured person incurs expenses for medical services that we deem to be unrea-
sonable or unnecessary, we may refuse to pay for those expenses and contest them.
We will determine to be unreasonable any charges that we would determine to be
unreasonable under the Unreasonable Or Unnecessary Medical Benefits provision in
Part II(A)—Personal Injury Protection.

We have the right under this Part II(B) to limit reimbursement in accordance with any
negotiated medical provider agreement to which we have access. The insured person
shall not be responsible for any reduction applied by us. If a medical provider disputes
an amount paid by us under this provision, we will be responsible for resolving such
disputes.


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If the medical service provider sues the insured person because we refuse to pay
expenses for medical services that we deem to be unreasonable or unnecessary, we
will pay any resulting defense costs, and any resulting judgment against the insured
person, subject to the limit of liability for this coverage. We will choose the counsel.
We will also pay reasonable expenses, including loss of earnings up to $200 per day,
incurred at our request. We will not pay any sanctions awarded or assessed against
an insured person due to intentional misrepresentation or concealment committed by
that insured person during the course of any lawsuit, associated discovery, or other
proceedings.

OTHER INSURANCE

If there is other applicable auto medical payments insurance, we will pay only our share
of the loss. Our share is the proportion that our limit of liability bears to the total of all
applicable limits. However, any insurance we provide for an insured person occupy-
ing a vehicle or trailer, other than a covered auto, will be excess over any other auto
insurance providing payments for medical services.

                   PART III—UNINSURED MOTORIST COVERAGE

INSURING AGREEMENT

If you pay the premium for this coverage, we will pay for damages, other than punitive
or exemplary damages, that an insured person is legally entitled to recover from the
owner or operator of an uninsured motor vehicle because of bodily injury:
1. sustained by an insured person;
2. caused by an accident; and
3. arising out of the ownership, maintenance or use of an uninsured motor vehicle.

We will not pay for damages consisting of pain, suffering, mental anguish, or inconve-
nience unless the injury or disease consists in whole or in part of:
1. significant and permanent loss of an important bodily function;
2. permanent injury within a reasonable degree of medical probability, other than
    scarring or disfigurement;
3. significant and permanent scarring or disfigurement; or
4. death;
as described in section 627.737(2) of the Florida Motor Vehicle No-Fault Law, as
amended.

An insured person must notify us in writing by certified or registered mail at least 30
days before entering into any settlement with the owner or operator of an uninsured
motor vehicle, or that person’s liability insurer. In order to preserve our right of subroga-
tion, we may elect to pay any sum offered in settlement by, or on behalf of, the owner
or operator of the uninsured motor vehicle. If we do this, you agree to assign to us
all subrogation rights that you have against the owner or operator of the uninsured
motor vehicle.
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Any judgment or settlement for damages against an owner or operator of an uninsured
motor vehicle that arises out of a lawsuit brought without our written consent is not
binding on us.

ADDITIONAL DEFINITIONS

When used in this Part III:
1. “Insured person” means:
   a. you, a relative, or a rated resident;
   b. any person while operating a covered auto with the permission of you, a rela-
       tive, or a rated resident;
   c. any person occupying, but not operating, a covered auto; and
   d. any person who is entitled to recover damages covered by this Part III because
       of bodily injury sustained by a person described in a, b, or c above.
2. “Rated resident” means a person residing in the same household as you at the
   time of the loss who is not a relative, but only if that person:
   a. is listed in the “Drivers and household residents” section on the declarations
       page;
   b. is not designated as either an “Excluded” or a “List only” driver; and
   c. is not insured for uninsured motorist coverage by any other insurance policy.
3. “Uninsured motor vehicle” means a land motor vehicle or trailer of any type:
   a. to which no bodily injury liability bond or policy applies at the time of the ac-
       cident;
   b. to which a bodily injury liability bond or policy applies at the time of the acci-
       dent, but the bonding or insuring company:
       (i) denies coverage; or
       (ii) is or becomes insolvent;
   c. to which a bodily injury liability bond or policy applies at the time of the ac-
       cident, but its limit of liability for bodily injury is less than the bodily injury dam-
       ages an insured person is legally entitled to recover; or
   d. that is a hit-and-run vehicle whose owner or operator cannot be identified and
       which causes an accident, with or without physical contact, resulting in bodily
       injury to an insured person, provided that the insured person, or someone
       on his or her behalf, reports the accident to the police or civil authority within
       24 hours or as soon as practicable after the accident.
   An “uninsured motor vehicle” does not include any vehicle or equipment:
   a. owned by you or a relative or furnished or available for the regular use of you
       or a relative. However, this shall not apply to a covered auto when coverage is
       denied under Part I—Liability To Others of this policy because of the exclusion
       of bodily injury to you or a relative, if the bodily injury results from operation
       of the covered auto by a person other than you or a relative;
   b. operated on rails or crawler treads;
   c. designed mainly for use off public roads, while not on public roads;
   d. while located for use as a residence or premises; or
   e. that is a covered auto. However, this shall not apply when coverage is de-
       nied under Part I—Liability To Others of this policy because of the exclusion of
       bodily injury to you or a relative, if the bodily injury results from operation of
       the covered auto by a person other than you or a relative.
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EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART III.

Coverage under this Part III will not apply:
1. to bodily injury sustained by any person while using or occupying:
   a. a covered auto while being used:
        (i) to carry persons or property for compensation or a fee;
        (ii) for retail or wholesale delivery, including, but not limited to, the pickup,
              transport or delivery of magazines, newspapers, mail or food; or
        (iii) for ride-sharing activity.
        This exclusion does not apply to shared-expense car pools; or
   b. a motor vehicle that is owned by you or a relative. This exclusion does not apply:
        (i) to a covered auto that is insured under this Part III; or
        (ii) if you have elected stacked uninsured motorist coverage;
2. to bodily injury sustained by you, a relative, or a rated resident while using any
   vehicle, other than a covered auto, without the permission of the owner of the
   vehicle or the person in lawful possession of the vehicle;
3. directly or indirectly to benefit any insurer or self-insurer under any of the following
   or similar laws:
   a. workers’ compensation law; or
   b. disability benefits law;
4. to any punitive or exemplary damages;
5. to bodily injury sustained by any person if that person or the legal representative
   of that person settles without our written consent, unless our right to recover pay-
   ment has not been prejudiced by such settlement. However, this exclusion does
   not apply to a settlement to which we have consented with the insurer of a vehicle
   described in section 3.c. of the definition of an uninsured motor vehicle; or
6. to bodily injury arising out of the use of a covered auto while being used in con-
   nection with a personal vehicle sharing program. This exclusion does not apply
   to the operation of a covered auto by you, a relative, or a rated resident.

LIMITS OF LIABILITY

1.   If you have elected stacked uninsured motorist coverage, the following limits of li-
     ability shall apply:

     If your declarations page shows a split limit:
     a. the amount shown for “each person” is the most we will pay for all damages
          due to bodily injury to one person. When the limits of two or more covered
          autos are stacked, the most we will pay for all damages due to bodily injury
          to one person is the sum of the “each person” limits for each covered auto
          shown on the declarations page; and
     b. subject to the “each person” limit, the amount shown for “each accident” is the
          most we will pay for all damages due to bodily injury sustained by two or
          more persons in any one accident. When the limits of two or more covered
          autos are stacked, the most we will pay for all damages due to bodily injury
          to two or more persons in any one accident is the sum of the “each accident”
          limits for each covered auto shown on the declarations page.
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     If the declarations page shows that “combined single limit” or “CSL” applies, the
     amount shown is the most we will pay for the total of all damages resulting from any
     one accident. When the limits of two or more covered autos are stacked, the most
     we will pay for the total of all damages resulting from any one accident is the sum
     of the combined single limits for each covered auto shown on the declarations
     page.

2.   If you have elected non-stacked uninsured motorist coverage, the following limits of
     liability shall apply:

     If your declarations page shows a split limit:
     a. the amount shown for “each person” is the most we will pay for all damages
          due to bodily injury to one person; and
     b. subject to the “each person limit, the amount shown for “each accident” is the
          most we will pay for all damages due to bodily injury sustained by two or
          more persons in any one accident.

     If the declarations page shows that “combined single limit” or “CSL” applies, the
     amount shown is the most we will pay for the total of all damages resulting from any
     one accident. However, without changing this total limit of liability, we will comply
     with any law that requires us to provide any separate limits.

     The limit of liability shown on the declarations page for Uninsured Motorist Cover-
     age is the most we will pay regardless of the number of:
     a. claims made;
     b. covered autos;
     c. insured persons;
     d. lawsuits brought;
     e. vehicles involved in the accident; or
     f. premiums paid.

3.   Whether you have elected stacked uninsured motorist coverage or non-stacked
     uninsured motorist coverage, the following provisions shall apply:

     The “each person” limit of liability includes the total of all claims made for bodily
     injury to an insured person and all claims of others derived from such bodily in-
     jury, including, but not limited to, emotional injury or mental anguish resulting from
     the bodily injury of another or from witnessing the bodily injury to another, loss of
     society, loss of companionship, loss of services, loss of consortium, and wrongful
     death, if recoverable under the applicable law.

     In determining the amount payable under this Part III, the amount of damages that
     an insured person is entitled to recover for bodily injury will be reduced by:
     a. all sums paid because of bodily injury by any persons or organizations that
          may be legally responsible;
     b. all sums paid or payable under Part I—Liability To Others;
     c. all sums paid or payable under Part II(A)—Personal Injury Protection Cover-
          age or Part II(B)—Medical Payments Coverage;
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     d.   all sums paid or payable because of bodily injury under any of the following
          or similar laws:
          (i) workers’ compensation law; or
          (ii) disability benefits law;
     e.   all sums paid or payable as personal injury protection benefits; and
     f.   the amount of the limits of the uninsured motorist’s liability policy, even if the
          settlement reached with the uninsured motorist is less than the amount of the
          limits of the uninsured motorist’s liability policy.

No one will be entitled to duplicate payments for the same elements of damages.

OTHER INSURANCE

1.   If you have elected stacked uninsured motorist coverage, the following shall apply:

     If there is other uninsured motorist coverage that applies to the accident on a pri-
     mary basis, we will pay only our proportionate share of the damages.

     Any insurance we provide with respect to a vehicle that is not a covered auto will
     be excess over any other uninsured motorist coverage.

2.   If you have elected non-stacked uninsured motorist coverage, the following shall
     apply:

     If there is other uninsured motorist coverage that applies to the accident on a pri-
     mary basis, the total benefits payable to any one person will not exceed the maxi-
     mum benefits payable by the policy with the highest limit for uninsured motorist
     coverage. We will pay only our proportionate share of the damages. This applies
     no matter how many autos or auto policies may be involved whether written by us
     or another company.

     Any insurance we provide with respect to a vehicle that is not a covered auto will
     be excess over any other uninsured motorist coverage.

     If an insured person sustains bodily injury while occupying a motor vehicle,
     other than a covered auto, the insured person may elect to receive excess unin-
     sured motorist benefits under only one policy of insurance under which the insured
     person is an insured. If the insured person elects to receive excess uninsured
     motorist benefits under a policy of insurance other than this policy, we will not pay
     any uninsured motorist benefits due to bodily injury to the insured person.

     If an insured person sustains bodily injury while not occupying a motor vehicle,
     the insured person may elect to receive uninsured motorist benefits under only
     one policy of insurance under which the insured person is an insured. If the in-
     sured person elects to receive uninsured motorist benefits under a policy of insur-
     ance other than this policy, we will not pay any uninsured motorist benefits due to
     bodily injury to the insured person.
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TRUST AGREEMENT

If an insured person elects to receive or receives uninsured motorist benefits under
this policy and subsequently elects to receive or receives uninsured motorist benefits
under a policy of insurance other than this policy, that insured person will hold the
amount of those benefits in trust pending a determination regarding whether we are
entitled to reimbursement of all or a portion of our uninsured motorist benefit payments.

OUR RIGHTS TO RECOVER PAYMENT

If an insured person recovers from another without our written consent, the insured
person’s right to payment under any affected coverage will no longer exist. This applies
in the event the insured’s recovery is prejudicial to us.

                         PART IV—DAMAGE TO A VEHICLE

INSURING AGREEMENT—COLLISION COVERAGE

If you pay the premium for this coverage, we will pay for sudden, direct and accidental
loss to a:
1. covered auto, including an attached trailer; or
2. non-owned auto;
and its custom parts or equipment, resulting from collision.

In addition, we will pay the reasonable cost to replace any child safety seat damaged in
an accident to which this coverage applies.

INSURING AGREEMENT—COMPREHENSIVE COVERAGE

If you pay the premium for this coverage, we will pay for sudden, direct and accidental
loss to a:
1. covered auto, including an attached trailer; or
2. non-owned auto;
and its custom parts or equipment, that is not caused by collision.

A loss not caused by collision includes:
1. contact with an animal (including a bird);
2. explosion or earthquake;
3. fire;
4. malicious mischief or vandalism;
5. missiles or falling objects;
6. riot or civil commotion;
7. theft or larceny;
8. windstorm, hail, water or flood; or
9. breakage of glass not caused by collision.

In addition, we will pay for:
1. reasonable transportation expenses incurred by you if a covered auto is stolen; and
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2. loss of use damages that you are legally liable to pay if a non-owned auto is stolen.
A combined maximum of $900, not exceeding $30 per day, will apply to these addi-
tional benefits. The additional benefit for transportation expenses will not apply if you
purchased Rental Reimbursement Coverage for the stolen covered auto.

Coverage for transportation expenses and loss of use damages begins 48 hours after
you report the theft to us and ends the earliest of:
1. when the auto has been recovered and returned to you or its owner;
2. when the auto has been recovered and repaired;
3. when the auto has been replaced; or
4. 72 hours after we settle the loss if the auto is deemed by us to be a total loss.

We must receive written proof of transportation expenses and loss of use damages.

INSURING AGREEMENT—FULL COMPREHENSIVE
WINDOW GLASS COVERAGE

If you pay the premium for Comprehensive Coverage, we will pay for sudden, direct,
and accidental loss to a windshield on a covered vehicle that is not caused by a colli-
sion, without applying a deductible.

INSURING AGREEMENT—ADDITIONAL CUSTOM PARTS
OR EQUIPMENT COVERAGE

We will pay for sudden, direct and accidental loss to custom parts or equipment on a
covered auto for which this coverage has been purchased. This coverage applies only
if you have purchased both Comprehensive Coverage and Collision Coverage for that
covered auto and the loss is covered under one of those coverages. This coverage
applies in addition to any coverage automatically provided for custom parts or equip-
ment under Comprehensive Coverage or Collision Coverage.

INSURING AGREEMENT—RENTAL REIMBURSEMENT COVERAGE

We will reimburse rental charges incurred when you rent an auto from a rental agency
or auto repair shop due to a loss to a covered auto for which Rental Reimbursement
Coverage has been purchased. This coverage applies only if you have purchased both
Comprehensive Coverage and Collision Coverage for that covered auto and the loss
is covered under one of those coverages.

Additional fees or charges for insurance, damage waivers, optional equipment, fuel, or
accessories are not covered.

This coverage is limited to the each day limit shown on the declarations page for a
maximum of 30 days.

If Rental Reimbursement Coverage applies, no other coverage under this policy for
rental expenses will apply.
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Rental charges will be reimbursed beginning:
1. when the covered auto cannot be driven due to a loss; or
2. if the covered auto can be driven, when you deliver the covered auto to an auto
    repair shop or one of our Service Centers for repairs due to the loss;
and ending the earliest of:
1. when the covered auto has been returned to you;
2. when the covered auto has been repaired;
3. when the covered auto has been replaced;
4. 72 hours after we make an offer to settle the loss if the covered auto is deemed by
    us to be a total loss; or
5. when you incur 30 days worth of rental charges.

You must provide us written proof of your rental charges to be reimbursed.

INSURING AGREEMENT—LOAN/LEASE PAYOFF COVERAGE

If you pay the premium for this coverage, and the covered auto for which this cover-
age was purchased is deemed by us to be a total loss, we will pay, in addition to any
amounts otherwise payable under this Part IV, the difference between:
1. the actual cash value of the covered auto at the time of the total loss; and
2. any greater amount the owner of the covered auto is legally obligated to pay under
     a written loan or lease agreement to which the covered auto is subject at the time
     of the total loss, reduced by:
     a. unpaid finance charges or refunds due to the owner for such charges;
     b. excess mileage charges or charges for wear and tear;
     c. charges for extended warranties or refunds due to the owner for extended war-
          ranties;
     d. charges for credit insurance or refunds due to the owner for credit insurance;
     e. past due payments and charges for past due payments; and
     f. collection or repossession expenses.

However, our payment under this coverage shall not exceed the limit of liability shown
on the declarations page. The limit of liability is a percentage of the actual cash value
of the covered auto at the time of the loss.

This coverage applies only if you have purchased both Comprehensive Coverage and
Collision Coverage for that covered auto and the loss is covered under one of those
coverages.

INSURING AGREEMENT—PET INJURY COVERAGE

If you have purchased Collision coverage for at least one covered auto under your
policy, and if your pet sustains injury or death while inside a covered auto or non-
owned auto at the time of a loss covered under Collision or Comprehensive coverage,
we will provide:
1. up to $1,000 for reasonable and customary veterinary fees incurred by you, a rela-
     tive, or a rated resident if your pet is injured in, or as a direct result of, the covered
     loss; or
                                              29
2.   a $1,000 death benefit if your pet dies in, or as a direct result of, the covered loss,
     less any payment we made toward veterinary expenses for your pet.
In the event of a covered loss due to the theft of a covered auto or non-owned auto,
we will provide the death benefit provided your pet is inside that auto at the time of the
theft and your pet is not recovered.

ADDITIONAL DEFINITIONS

When used in this Part IV:
1. “Collision” means the upset of a vehicle or its impact with another vehicle or object.
2. “Custom parts or equipment” means equipment, devices, accessories, en-
   hancements and changes, other than those that are offered by the manufacturer
   specifically for that auto model, or that are installed by the auto dealership as part
   of the original sale of a new auto, that:
   a. are permanently installed or attached; and
   b. alter the appearance or performance of the auto.
3. “Mechanical parts” means operational parts on a vehicle that wear out over time
   or have a finite useful life or duration typically shorter than the life of the vehicle as
   a whole. Mechanical parts do not include external crash parts, wheels, paint, or
   windshields and other glass.
4. “Non-owned auto” means an auto that is not owned by or furnished or available
   for the regular use of you, a relative, or a rated resident while in the custody of or
   being operated by you, a relative, or a rated resident with the permission of the
   owner of the auto or the person in lawful possession of the auto. A non-owned
   auto also includes a temporary substitute auto, even when furnished or available
   for regular use.
5. “Your pet” means any dog or cat owned by you, a relative, or a rated resident.

EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART IV.

Coverage under this Part IV will not apply for loss:
1. to any vehicle while being used:
   a. to carry persons or property for compensation or a fee;
   b. for retail or wholesale delivery, including, but not limited to, the pickup, transport
        or delivery of magazines, newspapers, mail or food; or
   c. for ride-sharing activity.
   This exclusion does not apply to shared-expense car pools;
2. to a non-owned auto while being maintained or used by a person while employed
   or engaged in any auto business;
3. to any vehicle resulting from, or sustained during practice or preparation for:
   a. any pre-arranged or organized racing, stunting, speed or demolition contest or
        activity by an insured person; or
   b. any driving activity conducted on a permanent or temporary racetrack or race-
        course by an insured person;
4. to any vehicle for which insurance:
   a. is afforded under a nuclear energy liability insurance contract; or
                                             30
    b.   would be afforded under a nuclear energy liability insurance contract but for its
         termination upon exhaustion of its limit of liability;
5. to any vehicle caused by an intentional act committed by or at the direction of you,
    a relative, or the owner of a non-owned auto, even if the actual damage is differ-
    ent than that which was intended or expected. This exclusion precludes coverage
    for any person insured by this policy regardless of whether the person seeking
    coverage participated in the intentional act;
6. to a covered auto while it is leased or rented to others or given in exchange for
    compensation, including while being used in connection with a personal vehicle
    sharing program. This exclusion does not apply to the operation of a covered
    auto by you, a relative, or a rated resident;
7. due to destruction or confiscation by governmental or civil authorities of any vehicle
    because you, any relative, or any rated resident engaged in illegal activities;
8. to any vehicle that is due and confined to:
    a. wear and tear;
    b. freezing;
    c. mechanical, electrical or electronic breakdown or failure; or
    d. road damage to tires.
    This exclusion does not apply if the damage results from the theft of a vehicle;
9. to portable equipment, devices, accessories, and any other personal effects that
    are not permanently installed. This includes, but is not limited to:
    a. tapes, compact discs, cassettes, DVDs, and other recording or recorded media;
    b. any case or other container designed for use in storing or carrying tapes, com-
         pact discs, cassettes, DVDs, or other recording or recorded media;
    c. any device used for the detection or location of radar, laser, or other speed
         measuring equipment or its transmissions; and
    d. CB radios, telephones, two-way mobile radios, DVD players, personal comput-
         ers, personal digital assistants, or televisions;
10. to any vehicle caused directly or indirectly by:
    a. war (declared or undeclared) or civil war;
    b. warlike action by any military force of any government, sovereign, or other
         authority using military personnel or agents. This includes any action taken to
         hinder or defend against an actual or expected attack; or
    c. insurrection, rebellion, revolution, usurped power, or any action taken by a gov-
         ernmental authority to hinder or defend against any of these acts;
11. to any vehicle caused directly or indirectly by any accidental or intentional dis-
    charge, dispersal or release of radioactive or nuclear material; or
12. to any vehicle caused by, or reasonably expected to result from, a criminal act or
    omission of you, a relative, a rated resident, or the owner of a non-owned auto.
    This exclusion applies regardless of whether you, the relative, the rated resident,
    or the owner of the non-owned auto is actually charged with, or convicted of, a
    crime. This exclusion precludes coverage for any person insured by this policy re-
    gardless of whether the person seeking coverage participated in the criminal act or
    omission. This exclusion does not apply to moving traffic violations.


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LIMITS OF LIABILITY

1.   The limit of liability for loss to a covered auto, non-owned auto, or custom parts
     or equipment is the lowest of:
     a. the actual cash value of the stolen or damaged property at the time of the loss
         reduced by the applicable deductible;
     b. the amount necessary to replace the stolen or damaged property reduced by
         the applicable deductible;
     c. the amount necessary to repair the damaged property to its pre-loss physical
         condition reduced by the applicable deductible; or
     d. the Stated Amount shown on the declarations page for that covered auto.
     However, the most we will pay for loss to:
     a. custom parts or equipment is $1,000 unless you purchased Additional
         Custom Parts or Equipment Coverage (“ACPE”). If you purchased ACPE, the
         most we will pay is $1,000 plus the amount of ACPE you purchased.
     b. a trailer is the limit of liability shown on the declarations page for that trailer.
         If the trailer is not shown on the declarations page, the limit of liability is $500.
2.   Payments for loss to a covered auto, non-owned auto, or custom parts or
     equipment are subject to the following provisions:
     a. If coverage applies to a non-owned auto, we will provide the broadest cover-
         age applicable to any covered auto shown on the declarations page.
     b. If you have elected a Stated Amount for a covered auto, the Stated Amount
         is the most we will pay for all loss to that covered auto, including its custom
         parts or equipment.
     c. Coverage for custom parts or equipment will not cause our limit of liability
         for loss to an auto under this Part IV to be increased to an amount in excess of
         the actual cash value of the auto, including its custom parts or equipment.
         This does not apply to Additional Custom Parts or Equipment Coverage the
         insured has purchased.
     d. In determining the amount necessary to repair damaged property to its pre-
         loss physical condition, the amount to be paid by us:
         (i) will not exceed the prevailing competitive labor rates charged in the area
               where the property is to be repaired and the cost of repair or replacement
               parts and equipment, as reasonably determined by us; and
         (ii) will be based on the cost of repair or replacement parts and equipment
               which may be new, reconditioned, remanufactured or used, including, but
               not limited to:
               (a) original manufacturer parts or equipment; and
               (b) nonoriginal manufacturer parts or equipment.
     e. To determine the amount necessary to repair or replace the damaged prop-
         erty as referred to in subsection 1., the total cost of necessary repair or replace-
         ment may be reduced by unrepaired prior damage. Unrepaired prior damage
         includes broken, cracked or missing parts; rust; dents; scrapes; gouges; and
         peeling paint. The reduction for unrepaired prior damage is the cost of labor,
         parts and materials necessary to repair or replace damage, deterioration, de-
         fects, or wear and tear on exterior body parts, windshields and other glass,
         wheels, and paint, that existed prior to the accident and that is eliminated as a
         result of the repair or replacement of property damaged in the loss.
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     f.  To determine the amount necessary to repair or replace the damaged prop-
         erty as referred to in subsection 1., an adjustment may be made for betterment
         or depreciation and physical condition on:
         (i) batteries;
         (ii) tires;
         (iii) engines and transmissions, if the engine has greater than 80,000 miles; and
         (iv) any other mechanical parts that are nonfunctioning or inoperative.
         We will not make an adjustment for the labor costs associated with the re-
         placement or repair of these parts.
     g. The actual cash value is determined by the market value, age, and condition
         of the vehicle at the time the loss occurs.
3.   No deductible will apply to a loss to window glass when the glass is repaired in-
     stead of replaced.
4.   Duplicate recovery for the same elements of damages is not permitted.
5.   The following additional limits of liability apply to Pet Injury coverage:
     a. The most we will pay for all damages in any one loss is a total of $1,000 re-
         gardless of the number of dogs or cats involved.
     b. If your pet dies in, or as a direct result of, a covered loss, we will provide a
         death benefit of $1,000, less any payment we made toward veterinary ex-
         penses for your pet.
     c. No deductible shall apply to this coverage.

PAYMENT OF LOSS

We may, at our option:
1. pay for the loss in money; or
2. repair or replace the damaged or stolen property.

At our expense, we may return any recovered stolen property to you or to the address
shown on the declarations page, with payment for any damage resulting from the theft.
We may keep all or part of the property at the agreed or appraised value.

We may settle any loss with you or the owner or lienholder of the property.

NO BENEFIT TO BAILEE

Coverage under this Part IV will not directly or indirectly benefit any carrier or other
bailee for hire.

LOSS PAYABLE CLAUSE

Payment under this Part IV for a loss to a covered auto will be made according to
your interest and the interest of any lienholder shown on the declarations page or
designated by you. At our option, payment may be made to both jointly, or to either
separately. However, if the covered auto is not a total loss, we may make payment to
you and the repairer of the auto.
                                           33
The lienholder’s interest will not be protected:
1. where fraud, misrepresentation, material omission, or intentional damage resulting
    in a denial of coverage by us has been committed by or at the direction of you or
    any person seeking coverage; or
2. where the loss is otherwise not covered under the terms of this policy.

If this policy is cancelled, nonrenewed or voided, the interest of any lienholder under this
agreement will also terminate.

OTHER SOURCES OF RECOVERY

If other sources of recovery also cover the loss, we will pay only our share of the loss.
Our share is the proportion that our limit of liability bears to the total of all applicable
limits. However, any insurance we provide for a non-owned auto, or trailer not shown
on the declarations page, will be excess over any other collectible source of recovery
including, but not limited to:
1. any coverage provided by the owner of the non-owned auto or trailer;
2. any other applicable physical damage insurance; and
3. any other source of recovery applicable to the loss.

APPRAISAL

If we cannot agree with you on the amount of a loss, then we or you may demand
an appraisal of the loss. However, mediation, if desired, must be requested prior to
demanding appraisal. Within 30 days of any demand for an appraisal, each party shall
appoint a competent and impartial appraiser and shall notify the other party of that ap-
praiser’s identity. The appraisers will determine the amount of loss. If they fail to agree,
the disagreement will be submitted to an impartial umpire chosen by the appraisers,
who is both competent and a qualified expert in the subject matter. If the two appraisers
are unable to agree upon an umpire within 15 days, we or you may request that a judge
of a court of record, in the county where you reside, select an umpire. The appraisers
and umpire will determine the amount of loss. The amount of loss agreed to by both
appraisers, or by one appraiser and the umpire, will be binding. You will pay your ap-
praiser’s fees and expenses. We will pay our appraiser’s fees and expenses. All other
expenses of the appraisal, including payment of the umpire if one is selected, will be
shared equally between us and you. Neither we nor you waive any rights under this
policy by agreeing to an appraisal.

                  PART V—ROADSIDE ASSISTANCE COVERAGE

INSURING AGREEMENT

If you pay the premium for this coverage, we will pay for our authorized service represen-
tative to provide the following services when necessary due to a covered emergency:
1. towing of a covered disabled auto to the nearest qualified repair facility; and
2. labor on a covered disabled auto at the place of disablement.
                                            34
If a covered disabled auto is towed to any place other than the nearest qualified repair
facility, you will be responsible for any additional charges incurred.

ADDITIONAL DEFINITIONS

When used in this Part V:
1. “Covered disabled auto” means a covered auto for which this coverage has
   been purchased that sustains a covered emergency.
2. “Covered emergency” means a disablement that is a result of:
   a. mechanical or electrical breakdown;
   b. battery failure;
   c. insufficient supply of fuel, oil, water, or other fluid;
   d. flat tire;
   e. lock-out; or
   f. entrapment in snow, mud, water or sand within 100 feet of a road or highway.

EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART V.

Coverage under this Part V will not apply to:
1. more than three covered emergencies for any single covered auto in a six-month
    period;
2. the cost of purchasing parts, fluid, lubricants, fuel, or replacement keys, or the labor
    to make replacement keys;
3. installation of products or material not related to the disablement;
4. labor not related to the disablement;
5. labor on a covered disabled auto for any time period in excess of 60 minutes per
    disablement;
6. towing or storage related to impoundment, abandonment, illegal parking, or other
    violations of law;
7. assistance with jacks, levelers, airbags or awnings;
8. labor or repair work performed at a service station, garage, or repair shop;
9. auto storage charges;
10. disablement that occurs on roads not regularly maintained, sand beaches, open
    fields, or areas designated as not passable due to construction, weather, or earth
    movement;
11. mounting or removing of snow tires or chains;
12. tire repair;
13. disablement that results from an intentional or willful act or action by you, a rela-
    tive, a rated resident, or the operator of a covered disabled auto, with the intent
    of causing such disablement;
14. any covered auto while being used in connection with ride-sharing activity;
15. any covered auto while being used in connection with a personal vehicle shar-
    ing program. However, this shall not apply when a covered auto is being used by
    you, a relative, or a rated resident; or
16. a trailer.
                                            35
UNAUTHORIZED SERVICE PROVIDER

When service is rendered by a provider in the business of providing roadside assistance
and towing services, other than one of our authorized service representatives, we will
pay only reasonable charges, as determined by us, for:
1. towing of a covered disabled auto to the nearest qualified repair facility; and
2. labor on a covered disabled auto at the place of disablement;
which is necessary due to a covered emergency.

OTHER INSURANCE

Any coverage provided under this Part V for service rendered by an unauthorized ser-
vice provider will be excess over any other collectible insurance or towing protection
coverage.

             PART VI—DUTIES IN CASE OF AN ACCIDENT OR LOSS

For coverage to apply under this policy, you or the person seeking coverage must
promptly report each accident or loss even if you or the person seeking coverage is
not at fault. You or the person seeking coverage must provide us with all accident/loss
information, including time, place, and how the accident or loss happened. You or the
person seeking coverage must also obtain and provide us the names and addresses of
all persons involved in the accident or loss, the names and addresses of any witnesses,
and the license plate numbers of the vehicles involved.

If you or the person seeking coverage cannot identify the owner or operator of a vehicle
involved in the accident, or if theft or vandalism has occurred, you or the person seeking
coverage must notify the police within 24 hours or as soon as practicable.

A person seeking coverage must:
1. cooperate with us in any matter concerning a claim or lawsuit;
2. provide any written proof of loss we may reasonably require;
3. allow us to take signed and recorded statements, including sworn statements and
    examinations under oath, which we may conduct outside the presence of you or
    any other person claiming coverage, and answer all reasonable questions we may
    ask and provide any documents, records, or other tangible items that we request,
    when, where, and as often as we may reasonably require;
4. promptly call to notify us about any claim or lawsuit and send us any and all legal
    papers relating to the claim or suit;
5. attend hearings and trials as we require;
6. take reasonable steps after a loss to protect the covered auto, or any other vehicle
    for which coverage is sought, from further loss. We will pay reasonable expenses
    incurred in providing that protection. If failure to provide such protection results in
    further loss, any additional damages will not be covered under this policy;
7. allow us to have the damaged covered auto, or any other damaged vehicle for
    which coverage is sought, inspected and appraised before its repair or disposal;
                                            36
8.   submit to medical examinations at our expense by doctors we select as often as
     we may reasonably require; and
9.   authorize us to obtain medical and other records.

                         PART VII—GENERAL PROVISIONS

POLICY PERIOD AND TERRITORY

This policy applies only to accidents and losses occurring during the policy period shown
on the declarations page and that occur within a state, territory or possession of the
United States of America, or a province or territory of Canada, or while a covered auto
or trailer shown on the declarations page is being transported between their ports.

CHANGES

This policy contract, your insurance application (which is made a part of this policy as if
attached hereto), the declarations page, and all endorsements to this policy issued by
us, contain all the agreements between you and us. Subject to the following, the terms
of this policy may not be changed or waived except by an endorsement issued by us.

The premium for this policy is based on information we received from you and other
sources. You agree to cooperate with us in determining if this information is correct and
complete, and to promptly notify us if it changes during the policy period. If this informa-
tion is incorrect, incomplete, or changes during the policy period, you agree that we
may adjust your policy information and premium accordingly. Changes that may result
in a premium adjustment are contained in our rates and rules. These include, but are
not limited to, you, a relative, or a rated resident obtaining a driver’s license or opera-
tor’s permit, or changes in:
1. the number, type or use classification of covered autos;
2. the persons who regularly operate a covered auto;
3. the persons of legal driving age residing in your household;
4. the residents in your household;
5. an operator’s marital status;
6. your mailing address and your residence address;
7. the principal garaging address of any covered auto;
8. coverage, deductibles, or limits of liability; or
9. rating territory or discount eligibility.

The coverage provided in your policy may be changed only by the issuance of a new
policy or an endorsement by us. However, if during the policy period we broaden any
coverage afforded under the current edition of your policy without additional premium
charge, that change will automatically apply to your policy as of the date the coverage
change is implemented in your state.

If you ask us to delete a vehicle from this policy, no coverage will apply to that vehicle
as of the date and time you ask us to delete it.
                                            37
DUTY TO REPORT CHANGES

You must promptly report to us all changes, including additions and deletions, in policy
information. This includes, but is not limited to, changes in:
1. your mailing address or your residence address;
2. the principal garaging address of any covered auto;
3. the residents in your household;
4. the persons of legal driving age residing in your household;
5. the persons who regularly operate a covered auto;
6. an operator’s marital status; or
7. the driver’s license or operator’s permit status of you, a relative, or a rated resident.

SETTLEMENT OF CLAIMS

We may use estimating, appraisal, or injury evaluation systems to assist us in adjust-
ing claims under this policy and to assist us in determining the amount of damages,
expenses, or loss payable under this policy. Such systems may be developed by us or a
third party and may include computer software, databases, and specialized technology.

TERMS OF POLICY CONFORMED TO STATUTES

If any provision of this policy fails to conform to the statutes of the state listed on your
application as your residence, the provision shall be deemed amended to conform to
such statutes. All other provisions shall be given full force and effect. Any disputes as to
the coverages provided or the provisions of this policy shall be governed by the law of
the state listed on your application as your residence.

TRANSFER OF INTEREST

This policy may not be assigned without our written consent. However, we will not
prohibit an insured’s option to assign their rights and benefits post loss. However, if a
named insured shown on the declarations page dies, this policy will provide coverage
until the end of the policy period for the legal representative of the named insured, while
acting as such, and for persons covered under this policy on the date of the named
insured’s death.

FRAUD OR MISREPRESENTATION

This policy was issued in reliance upon the accuracy and truthfulness of information
provided on your insurance application. We may void this policy at any time, including
after the occurrence of an accident or loss, if you:
1. made incorrect or untrue statements or representations to us with regard to any
     material fact or circumstance;
2. concealed or misrepresented any material fact or circumstance; or
3. engaged in fraudulent conduct;
at the time of application. This means that we will not be liable for any claims or dam-
ages that would otherwise be covered.
                                            38
Any changes we make at your request to this policy after inception will be made in reli-
ance upon information you provide. If you:
1. make incorrect statements or representations to us with regard to any material fact
     or circumstance;
2. conceal or misrepresent any material fact or circumstance; or
3. engage in fraudulent conduct;
in connection with a requested change we may void the policy or reform it as it existed
immediately prior to the requested change. We may do this at any time, including after
the occurrence of an accident or loss.

When we have not voided or reformed the policy, we may still deny coverage for an
accident or loss if you, in connection with the policy application, in connection with any
requested change, or at any time during the policy period, have concealed or misrepre-
sented any material fact or circumstance or engaged in fraudulent conduct and that con-
cealment, misrepresentation, or fraudulent conduct was material to a risk we assumed.

We may deny coverage for an accident or loss if you or a person seeking coverage has
concealed or misrepresented any material fact or circumstance, or engaged in fraudu-
lent conduct, in connection with the occurrence of a loss, or the presentation or settle-
ment of a claim.

PAYMENT OF PREMIUM AND FEES

If your initial premium payment is by check, draft, electronic funds transfer, or simi-
lar form of remittance, coverage under this policy is conditioned on payment to us by
the financial institution. If the financial institution upon presentment does not honor the
check, draft, electronic funds transfer, or similar form of remittance, this policy shall be
deemed void from its inception, unless the nonpayment is cured within the earlier of:
1. 5 days after actual notice by certified mail is received by you; or
2. 15 days after notice is sent to you by certified or registered mail.

If we deem the policy void from its inception, we will not be liable under this policy for
any claims or damages that would otherwise be covered if the check, draft, electronic
funds transfer, or similar form of remittance had been honored by the financial institution.
Any action by us to present the remittance for payment more than once shall not affect
our right to void this policy.

In addition to premium, fees may be charged on your policy. We may charge fees for
installment payments, late payments, and other transactions. Payments made on your
policy will be applied first to fees, then to premium due.

If a required premium is not paid when due, or by the end of any grace period if we
agree to grant a grace period, this policy will lapse as of the due date of the overdue
premium. If we offer to renew or continue this policy, and you fail to pay the required pre-
mium when due, this policy will automatically terminate at the end of the policy period
unless we elect to reinstate the policy without a lapse. Your failure to pay the required
renewal premium means that you have declined our offer.
                                            39
CANCELLATION

You may cancel this policy during the policy period by calling or writing us and stating
the future date you wish the cancellation to be effective. However, if your policy pro-
vides personal injury protection coverage, property damage liability, or both, you may
not cancel your policy during the first two months immediately following the effective
date of the initial policy period except:
1. upon total destruction of the covered auto;
2. upon transfer of ownership of the covered auto;
3. after the purchase of another policy or binder covering the covered auto; or
4. as provided in the Rate Increases provision under this Part VII.

Upon receipt of a written request, the named insured may cancel this policy within the
first 60 days of the initial policy period if the named insured is a member of the United
States Armed Forces and is called to or on active duty outside the United States in an
emergency situation.

We may cancel this policy during the policy period by mailing a notice of cancellation
to the named insured shown on the declarations page at the last known address ap-
pearing in our records.

We will give at least 10 days notice of cancellation if the policy is cancelled for nonpay-
ment of premium.

We will give at least 45 days notice of cancellation in all other cases.

During the first 60 days immediately following the effective date of the initial policy peri-
od, we may cancel your policy for nonpayment of premium if the reason for the cancel-
lation is the issuance of a check for the premium that is dishonored for any reason or for
any other type of premium payment that was subsequently determined to be rejected
or invalid. If your policy has been in effect for less than 60 days, we may also cancel for
reasons other than nonpayment of premium

After this policy is in effect for 60 days, or if this is a renewal or continuation policy, we
may cancel only for one or more of the following reasons:
1. nonpayment of premium;
2. material misrepresentation or fraud by you with respect to any material fact in the
     procurement, continuation, change, or renewal of this policy;
3. material misrepresentation or fraud in the submission of any claim under this policy;
     or
4. the driver’s license or motor vehicle registration of the named insured or of any
     other operator who either resides in the same household or customarily operates
     a covered auto has been under suspension or revocation during the initial policy
     period or the 180 days immediately preceding its effective date, or if the policy is a
     renewal, during the renewal policy period.

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We will not cancel this policy based on the lawful use, possession, or ownership of a
firearm or ammunition by an insured or household member of an insured.

United States postal proof of mailing, or certified or registered mailing will be sufficient
proof of notice. If this policy is cancelled, coverage will not be provided as of the effec-
tive date and time shown in the notice of cancellation. For purposes of cancellation, this
policy is neither severable nor divisible. Any cancellation will be effective for all cover-
ages for all persons and all vehicles.

CANCELLATION REFUND

Upon cancellation, you may be entitled to a premium refund. However, our making or
offering of a refund is not a condition of cancellation.

If this policy is cancelled, any refund due will be computed on a daily pro rata basis.

If we cancel this policy, or if the cancellation is for nonpayment of premium, any refund
due will be mailed within 15 days of the effective date of the policy cancellation.

If you cancel your policy, or if the named insured is a service member, as defined in
Florida Statute §250.01, and he or she cancels due to being called to active duty or
being transferred by the United States Armed Forces to a location where the insurance
is not required, any refund due will be mailed within 30 days of the effective date of the
policy cancellation. We may require a service member to present us proof as outlined
in Florida Statute §627.7283.

RATE INCREASES

If we determine that, in accordance with our rate filings and the applicable laws of
Florida, you have been charged a premium that is incorrect for the coverage set forth in
your application, we will provide notice to you of the amount of additional premium due
and that you have the following options:
1. you have a period of 10 days, or longer if specified by us, from receipt of the notice
     to pay the additional amount of premium due and maintain your policy in force;
2. you have a period of 10 days, or longer if specified by us, from receipt of the notice
     to cancel the policy and demand a refund of any unearned premiums; or
3. if you fail to timely respond to the notice, we shall cancel the policy and return any
     unearned premium to you. The date of the cancellation will be stated in the notice
     and will not be less than 14 days after the date of the notice.

Any refund due under this provision will be calculated on a daily pro rata basis.

NONCANCELABLE POLICY

If this policy is issued for the purpose of providing proof of compliance with Florida
Statute §627.7275(2)(a), as amended, in order to reinstate driving privileges following
                                            41
a suspension or revocation due to failure to maintain the required security, the policy
may not be cancelled for any reason for the remainder of the policy period once the
policy has been in effect for 60 days. After that point, any coverage under this policy for
bodily injury liability, property damage liability, and personal injury protection may not
be reduced below the minimum limits required by Florida law during the policy period.

NONRENEWAL

If neither we nor one of our affiliates offers to renew or continue this policy, we will mail
notice of nonrenewal to the named insured shown on the declarations page at the last
known address appearing in our records. United States postal proof of mailing, or certi-
fied or registered mailing will be sufficient proof of notice. Notice will be mailed at least
45 days before the end of the policy period.

We will not nonrenew this policy based on the lawful use, possession, or ownership of a
firearm or ammunition by an insured or a household member of an insured.

We will not fail to renew this policy based on if the insured has had only one accident in
which he or she was at fault within the current three-year period.

We will not refuse to renew this policy solely because the insured committed a noncrimi-
nal traffic infraction unless the infraction is:
1. a second infraction committed within an 18-month period, or a third or subsequent
     infraction committed within a 36-month period; or
2. a violation of Florida Statute §316.183, when such violation is a result of exceeding
     the lawful speed limit by more than 15 miles per hour.

AUTOMATIC TERMINATION

If we or an affiliate offers to renew or continue this policy and you or your representative
does not accept, this policy will automatically terminate at the end of the current policy
period. Failure to pay the required renewal or continuation premium when due will mean
that you have not accepted our offer.

If you obtain other insurance on a covered auto, any similar insurance provided by this
policy will terminate as to that covered auto on the effective date of the other insurance.

If a covered auto is sold or transferred to someone other than you, a relative, or a
rated resident, any insurance provided by this policy will terminate as to that covered
auto on the effective date of the sale or transfer.

LEGAL ACTION AGAINST US

We may not be sued unless there is full compliance with all the terms of this policy.


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We may not be sued for payment under Part I—Liability To Others until the obligation of
an insured person under Part I to pay is finally determined either by judgment after trial
against that person or by written agreement of the insured person, the claimant, and us.
No one will have any right to make us a party to a lawsuit to determine the liability of an
insured person.

As a condition precedent to filing any legal action for benefits under Part II(A)–Personal
Injury Protection Coverage or for medical payment benefits under Part II(B)—Medical
Payments, written notice of intent to initiate litigation must be provided to us in accor-
dance with the requirements set forth in the “Demand Letter” provisions of the “Florida
Required Personal Injury Protection Benefits” statute. Therefore, we may not be sued
for payment under Part II(A) or Part II(B) unless provisions of the Florida statute have
been fully complied with.

If we retain salvage, we have no duty to preserve or otherwise retain the salvage for any
purpose, including evidence for any civil or criminal proceeding.

OUR RIGHTS TO RECOVER PAYMENT

We are entitled to the rights of recovery that the insured person to whom payment was
made has against another, to the extent of our payment. That insured person may
be required to sign documents related to the recovery and must do whatever else we
require to help us exercise those recovery rights, and do nothing after an accident or
loss to prejudice those rights. If necessary to protect our subrogation rights following an
accident, the insured person must file suit against a liable person or organization within
the time period specified by the applicable statute of limitations.

However, we may not assert rights of recovery against the owner or operator of an
“uninsured motor vehicle,” as defined in Part III—Uninsured Motorist Coverage, if the in-
sured person under Part III provides us with written notice by certified or registered mail
at least 30 days prior to entering into a settlement that an offer of settlement has been
made by, or on behalf of, the owner or operator of the “uninsured motor vehicle” and we
do not elect to pay to the insured person an amount equal to the amount offered in full
settlement by, or on behalf of, the owner or operator of the “uninsured motor vehicle.”

When an insured person has been paid by us and also recovers from another, the
amount recovered will be held by the insured person in trust for us and reimbursed to us
to the extent of our payment. If we are not reimbursed, we may pursue recovery of that
amount directly against that insured person. However, this shall not apply to any pay-
ment made by us under Part II(A)—Personal Injury Protection Coverage of this policy
for personal injury protection benefits required under the Florida Motor Vehicle No-Fault
Law, as amended.

If we elect to exercise our rights of recovery against another, we will also attempt to
recover any deductible incurred by an insured person under this policy unless we are
specifically instructed by that person not to pursue the deductible. We have no obligation
to pursue recovery against another for any loss not covered by this policy.
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We reserve the right to compromise or settle the deductible and property damage
claims against the responsible parties for less than the full amount. We also reserve the
right to incur reasonable expenses and attorney fees in pursuit of the recovery.

If the total recovery is less than the total of our payment and the deductible, we will re-
duce reimbursement of the deductible based on the proportion that the actual recovery
bears to the total of our payment and the deductible. A proportionate share of collection
expenses and attorney fees incurred in connection with these recovery efforts will also
reduce reimbursement of the deductible.

These provisions will be applied in accordance with state law.

JOINT AND INDIVIDUAL INTERESTS

If there is more than one named insured on this policy, any named insured may cancel
or change this policy. The action of one named insured will be binding on all persons
provided coverage under this policy.

BANKRUPTCY

The bankruptcy or insolvency of an insured person will not relieve us of any obligations
under this policy.

MEDIATION

Either we or you may request mediation of a claim for:
1. bodily injury in the amount of $10,000 or less under Part I—Liability To Others,
    Part II(A)—Personal Injury Protection Coverage, Part II(B)—Medical Payments
    Coverage, or Part III—Uninsured Motorist Coverage of this policy; or
2. property damage under Part I—Liability To Others or Part IV—Damage To A Ve-
    hicle.

A demand for mediation shall be filed with the Florida Department of Financial Services
on a form which may be obtained from the Department. The demand must state why
mediation is being requested and the issue in dispute. A demand may not be made after
suit has been filed relating to the same facts already mediated.

Only one mediation may be requested for each claim unless the parties agree to further
mediation. The mediator shall be selected by the Department at random. Each party
may reject one mediator selected by the Department, either before or after the other
party has rejected a mediator. The mediation shall be conducted informally, and may be
held by telephone if agreed to by the mediator and the parties. The date, time, and place
of the mediation conference shall be set by the mediator and shall be held no later than
45 days following the demand for mediation. All persons participating in the mediation
must have the authority to make a binding decision. All parties must act in good faith
throughout the mediation. Disclosures and statements made during mediation shall not
                                            44
be deemed admissions in any subsequent action or proceeding relating to the claim or
cause of action giving rise to the claim. The costs of mediation shall be shared equally
by the parties unless the mediator determines that one party has not mediated in good
faith. Any lawsuit regarding a mediated dispute must be filed as required under the
“Limitations of Actions” statutes or within 60 days after the conclusion of the mediation
process, whichever is later.




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